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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR PRESIDENT, INC.;                Civil Action No. 2:20-CV-966
GLENN THOMPSON; MIKE KELLY;
JOHN JOYCE; GUY RESCHENTHALER;
REPUBLICAN NATIONAL COMMITTEE;                      Honorable Judge J. Nicholas Ranjan
MELANIE STRINGHILL PATTERSON; and
CLAYTON DAVID SHOW,
                                                    Filed Electronically
                      Plaintiffs,

       v.

KATHY BOOCKVAR, in her capacity as
Secretary of the Commonwealth of
Pennsylvania; WASHINGTON COUNTY
BOARD OF ELECTIONS; et al.,

                      Defendants.


       DEFENDANT WASHINGTON COUNTY BOARD OF ELECTIONS’
    BRIEF IN SUPPORT OF MOTION TO DISMISS, OR, ALTERNATIVELY,
  MOTION FOR A MORE DEFINITE STATEMENT AND/OR MOTION TO STRIKE

       AND NOW, comes the Defendant, Washington County Board of Elections, by and

through its attorneys, Robert J. Grimm, Esquire and the law firm of Swartz Campbell, LLC, and

files the instant Brief in Support of Motion to Dismiss, or, alternatively, Motion for a More

Definite Statement and/or Motion to Strike, setting forth and averring in support thereof the

following:

                                    I. FACTS & PROCEDURE

       The Plaintiffs, consisting of the President’s reelection campaign, the Republican National

Committee, and various elected officials and registered electors (collectively, “the Plaintiffs”),

have brought suit against the Defendants, consisting of Kathy Boockvar, the Secretary and Chief

Elections Officer of the Commonwealth of Pennsylvania and the Boards of Elections of
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Pennsylvania’s 67 Counties, including the Washington County Board of Elections (“Washington

County”).    The Plaintiffs’ Complaint recounts purported election irregularities surrounding

Pennsylvania’s June 2, 2020 Primary Election and raises the specter of the same plaguing the

November 3, 2020 General Election. According to the Plaintiffs, these irregularities are a direct

result of the inconsistent and imperfect implementation of Act 77, the mail-in voting law enacted

by the General Assembly in the fall of 2019. The Plaintiffs target and challenge specific

practices, including the return of absentee and mail-in ballots to locations other than the

respective offices of the Counties’ Boards of Elections; the counting of “noncompliant” absentee

and mail-in ballots, such as those lacking a secrecy envelope; and residency requirements and

restrictions imposed on poll watchers. The Plaintiffs seek declaratory and/or injunctive relief

with respect to these practices.

       Notably, where Washington County is concerned, the Plaintiffs have not attributed any

such practices to it. Put another way, the Plaintiffs have not advanced any allegations of

impropriety relating to Washington County’s retroactive or prospective conduct of elections.

The Plaintiffs, therefore, have failed to state any claims against Washington County upon which

relief can be granted and their Complaint against it should be dismissed. In the alternative, the

Plaintiffs should be ordered to file an amended pleading that both supplies a more definite

statement of their allegations against Washington County, while also omitting other allegations

struck by the Court.

                  II. ARGUMENT IN SUPPORT OF MOTION TO DISMISS

       It is well-settled that in reviewing a motion to dismiss under Federal Rule of Civil

Procedure 12(b)(6), “[t]he applicable standard of review requires the court to accept as true all

allegations in the complaint and all reasonable inferences that can be drawn therefrom, and view

them in the light most favorable to the non-moving party.” Rocks v. City of Philadelphia, 868
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F.2d 644, 645 (3d Cir. 1989). Under the United States Supreme Court's decision in Bell Atlantic

Corp. v. Twombly, dismissal of a complaint pursuant to Rule 12(b)(6) is proper where the

averments of the complaint demonstrably fail to raise directly or inferentially the material

elements necessary to obtain relief under a viable legal theory of recovery. 550 U.S. 544 (2007).

In other words, the allegations of the complaint must be grounded on adequate factual and legal

bases such as to move the claim from the realm of mere possibility to one that shows entitlement

by presenting “a claim to relief that is plausible on its face.” Id. at 570. “The assumption of

truth does not apply, however, to legal conclusions couched as factual allegations or to

‘[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements.’” Marangos v. Swett, 341 F. App’x 752, 755 (3d Cir. 2009) (citing Ashcroft v. Iqbal,

129 S.Ct. 1937, 1949-50 (2009)). A complaint that does not establish entitlement to relief under

any interpretation is properly dismissed without leave to amend. Grayson v. Mayview State

Hosp., 293 F.3d 103, 106 (3d Cir. 2002).

       The Plaintiffs’ Complaint as against Washington County does not satisfy the standard

announced by Twombly and its progeny. Washington County receives only a passing reference

in the Complaint, appearing in the caption and listed as a Defendant under the “Parties” section

of the Complaint, along with 66 other Counties. See Pls.’ Compl. at ¶ 17. What is more, the

Complaint is absolutely devoid of any allegations implicating Washington County in the

practices of which the Plaintiffs complain. To be sure, the Complaint contains discrete and

substantive allegations directed at Allegheny County and Philadelphia County. Id. at ¶¶ 2, 102,

104, 111, 113. Furthermore, the Complaint contains allegations generally directed at twenty (20)

unidentified Counties. Id. at ¶¶ 2, 103, 106. The Complaint does not, however, contain a single

allegation—general or specific—against Washington County.



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       The entire premise of the Plaintiffs’ Complaint is that achieving the objective of a “free

and fair” election on November 3, 2020 is only possible if the election is administered in

conformity with the letter and spirit of Act 77 and Pennsylvania’s other election laws. The

Plaintiffs do not charge Washington County with deviating from or violating Act 77 or any other

election laws. Specifically, the Plaintiffs do not allege that Washington County endorsed or

engaged in the collection of absentee and mail-in ballots at locations other than the office of the

Board of Elections; improperly counted absentee and mail-in ballots that should not have been

counted for want of a secrecy envelope; or excluded poll watchers who were not residents of

Washington County.      Thus, even accepting as true the allegations and inferences of the

Plaintiffs’ Complaint, it is evident that those allegations and inferences do not elevate the

Plaintiffs’ claims against Washington County from the realm of possibility to that of plausibility.

Simply stated, the Plaintiffs have not stated any claims against Washington County upon which

the Court can grant relief, and, as such, Washington County should be dismissed.

    III. ARGUMENT IN SUPPORT OF MOTION FOR MORE DEFINITE STATEMENT

       In the event the Court declines to grant dismissal, it should, in the alternative and at a

minimum, order the Plaintiffs to file an amended pleading that remedies the woeful insufficiency

of their allegations with respect to Washington County. Federal Rule of Civil Procedure 12(e)

authorizes a party to make a motion for a more definite statement if a pleading is “so vague or

ambiguous that the party cannot reasonably prepare a response.”           Fed. R. Civ. P. 12(e).

“Motions for more definite statements arise in . . . ‘cases where because of the vagueness and

ambiguity of the pleading the answering party will not be able to frame a responsive pleading.’”

Schaedler v. Reading Eagle Publ’ns, Inc., 370 F.2d 795, 798 (3d Cir. 1967). “Motions for [a]

more definite statement . . . should [be granted . . .] if a pleading is unintelligible, making it



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virtually impossible for the opposing party to craft a responsive pleading.” Synagro-WWT v.

Rush Twp., Penn., 204 F. Supp. 827, 849-50 (M.D. Pa. 2002).

       The Plaintiffs’ Complaint is plainly insufficient in terms of allegations involving

Washington County. On the one hand, the Complaint is excessively long and verbose, spanning

56 pages and consisting of 204 paragraphs. On the other hand, and notwithstanding its length

and verbosity, the Complaint is remarkable for the absence of any concrete factual allegations

touching upon Washington County. Indeed, the Complaint does not include even a solitary

allegation that Washington County permitted ballots to be returned to locations other than the

office of the Board of Elections; processed and counted ballots returned without a secrecy

envelope; or barred poll watchers from Counties other than Washington County. In view of the

vague, ambiguous, and insufficiently specific allegations against it, Washington County is

prejudiced in its ability to answer the Complaint and to meaningfully defend itself in this action.

Consequently, the Court should order the Plaintiffs to file an amended pleading articulating a

more definite statement of the Plaintiffs’ allegations and claims against Washington County.

                  IV. ARGUMENT IN SUPPORT OF MOTION TO STRIKE

       Consistent with ordering the Plaintiffs to furnish a more definite statement of their

allegations, the Court should also strike the many superfluous and inappropriate allegations and

ancillary matter that characterize much of the Plaintiffs’ Complaint. Federal Rule of Civil

Procedure 12(f) permits a motion to strike, whereby a party may move the Court to “strike from

a pleading . . . any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P.

12(f). This Court has stated:

            A decision to grant or deny a motion to strike a pleading is vested in the
            trial court's discretion. “The purpose of a motion to strike is to clean up
            the pleadings, streamline litigation, and avoid unnecessary forays into
            immaterial matters.”

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United States v. Educ. Mgmt. Corp., 871 F. Supp. 2d 433, 460 (W.D. Pa. 2012) (citing and

quoting Simmons v. Nationwide Mut. Fire Ins. Co., 788 F. Supp. 2d 404, 407 (W.D. Pa. 2011)).

       Inasmuch as motions to strike are designed to “clean up the pleadings, streamline

litigation, and avoid unnecessary forays into immaterial matters,” they find additional support

under Federal Rule of Civil Procedure 8, which requires a plaintiff to make “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). In

Wallace v. Fed. Employees of U.S. Dist. Court, the Eastern District Court observed:

            Pursuant to Fed. R. Civ. P. 8(a)(2), a complaint setting forth a claim for
            relief must contain “a short and plain statement of the claim showing that
            the pleader is entitled to relief,” and the plaintiff is limited to a “short
            and plain statement” in order to give the defendant fair notice of the
            plaintiff's claims and the bases thereof. Where plaintiffs have filed
            voluminous complaints containing arguments, recitations of the law, and
            otherwise unnecessary detail, courts have dismissed their complaints
            pursuant to Rules 8 and 12(f), which provides that the court, on its own
            or pursuant to a motion by a party, “may order stricken from any
            pleading . . . any redundant, immaterial, impertinent, or scandalous
            matter.”

Wallace v. Fed. Employees of U.S. Dist. Court, No. CIV.A. 07-1132 NLH, 2008 WL 1886107,

at *3, n. 4 (E.D. Pa. Apr. 28, 2008), aff'd sub nom. Wallace v. Fed. Employees of U.S. Dist.

Court, EDPA, 325 F. App'x 96 (3d Cir. 2009).

       As already noted, the Plaintiffs’ Complaint is 56 pages in length and features 204

paragraphs, some with subparts. Surely the Court can discern for itself that the Complaint is rife

with anecdotal and unsubstantiated accounts of election irregularities which fit the very

definition of immaterial or impertinent. See Hoffer v. Grange Ins. Co., No. 1:14-CV-0262, 2014

WL 2177589, at *3 (M.D. Pa. May 23, 2014) (“Impertinent matter consists of statements that do

not pertain, and are not necessary, to the issues in question.”). What is more, the Complaint

presents needless argumentation and is peppered with an inordinate number of citations to state

and federal cases, state and federal statutes, and the Pennsylvania and United States
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Constitutions. In sum, the Plaintiffs’ Complaint is anything but a short and plan statement of

their grievances and the relief they court. Accordingly, the Court, under the auspices of Rule

12(f), should strike from the Plaintiffs’ Complaint all of the allegations it deems contrary to the

pleading standard prescribed by Rule 8(a)(2).

    V. JOINDER IN AND INCORPORATION OF OTHER DEFENDANTS’ MOTIONS

       Washington County joins in and incorporates by reference the Motions to Dismiss and

other Motions of the various Defendants, including but not limited to the Motions filed by

Secretary Boockvar. Washington County joins in and incorporates these Motions to Dismiss and

other Motions both to the extent they align with Washington County’s own Motions and to the

extent they introduce additional and/or alternative grounds for relief, including but not limited to

those relating to the Plaintiffs’ standing, the existence of jurisdiction, the propriety of venue, and

the applicability of the Pullman abstention doctrine.

                                          VI. CONCLUSION

       Washington County moves the Court to dismiss the Plaintiffs’ Complaint against it for

failure to state a claim upon which relief can be granted. The Plaintiffs cannot, as a matter of

law, be entitled to any relief from Washington County where they have failed completely to

make allegations against Washington County warranting any such relief.                 Alternatively,

Washington County moves the Court to order the Plaintiffs to file an amended pleading curing

the pleading deficiencies discussed above and omitting all allegations struck by the Court.

       WHEREFORE, the Defendant, Washington County Board of Elections, respectfully

requests that this Honorable Court GRANT the within Motion, thereby dismissing the Plaintiffs’

Complaint and all claims set forth therein against the Defendant, Washington County Board of

Elections, in their entirety and with prejudice.



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                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Robert J. Grimm, Esquire, hereby certify that true and correct copies of the foregoing

Defendant Washington County Board of Elections’ Brief in Support of Motion to Dismiss,

or, alternatively, Motion for a More Definite Statement and/or Motion to Strike, have been

served this 24th day of July, 2020, by ECF, to:

                                      All Counsel of Record



                                                      Respectfully submitted,

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